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 Counsel for NexPoint Advisors, L.P. and Highland
 Capital Management Fund Advisors, L.P.
                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
   In re:
                                                         Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                  Reorganized Debtor.                    Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                  Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                  Defendants.
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            AMENDED NOTICE OF ISSUANCE OF SUBPOENA TO
        PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
   PERMIT INSPECTION OF PREMISES TO KNIGHT HEALTH HOLDINGS, LLC
                         D/B/A SCIONHEALTH.


       PLEASE TAKE NOTICE that Defendants, NexPoint Advisors, L.P. and Highland

Capital Management Fund Advisors, L.P., by and through their attorneys of record, intend to serve

the Subpoena attached hereto as Exhibit “A,” pursuant to Rule 45 of the Federal Rules of Civil

Procedure, as made applicable by Rule 9016 of the Federal Rules of Bankruptcy Procedure, on

third-party, Knight Health Holdings, LLC d/b/a ScionHealth.




 Dated: February 7, 2023

 By: /s/ Michael Aigen
 Michael Aigen
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 Deborah Deitsch-Perez
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 Highland Capital Management Fund Advisors,
 L.P.




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                               CERTIFICATE OF SERVICE

       I certify that on February 7, 2023, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                   /s/ Michael Aigen
                                                   Michael Aigen




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                          EXHIBIT "A"
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                              Document      Page 5 of 17
                                      UNITED STATES BANKRUPTCY COURT
                        Northern
  _________________________________________                    Texas
                                            District of _________________________________________
         HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                               19-34054-sgj
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
 Mark S. Kirschner, as Litigation Trustee of the Litigation                                   11
                                                                                     Chapter ___________
_________________________________________
 Sub-Trust,
                                    Plaintiff
                         v.                                                                          21-03076-sgj
                                                                                     Adv. Proc. No. ________________
  James D. Dondero, et. al.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
           Knight Health Holdings, LLC, d/b/a ScionHealth
  To:   ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

   X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE Electronically to the undersigned counsel or                                                         DATE AND TIME
             Stinson LLP
             2200 Ross Ave, Ste. 2900, Dallas, Texas 75201                                                            March 11, 2023 at 9:00 am


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
         February 7, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                                                                               /s/ Michael Aigen
                                    ________________________                                ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature
                                                                                                Michael Aigen
  The name, address, email address, and telephone number of the attorney representing (name of party)
   See Exhibit 1 attached hereto
  ____________________________       , who issues or requests this subpoena, are:
    See Exhibit 1 attached hereto
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)
                                                            Document      Page 6 of 17

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)
                                                                Document      Page 7 of 17
                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                         Attachment A


                                         DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.
      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
      necessary to bring within the scope of the discovery request all responses that might
      otherwise be construed to be outside of its scope. The use of the singular form of any word
      includes the plural and vice versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the
      usage of the term “documents or electronically stored information” in Fed. R. Civ. P.
      34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of
      this term. “Document” shall be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term
      “including” shall be construed as if followed by the phrase “but not limited to,” irrespective
      of whether such phrase is explicitly stated or not

   4. “Cornerstone” means Cornerstone Healthcare Group, Inc., its subsidiaries and parent
      companies.

   5. “Cornerstone Sale” means the purchase of Cornerstone by Builders Knight Health
      Holdings, LLC d/b/a ScionHealth that announced a definitive agreement for sale on or
      about May 12, 2022.

   6. “Highland Bankruptcy” means In re Highland Capital Mgmt., L.P., Case No. 19-35054-
      sgj11 (Bankr. N.D. Tex. Feb. 13, 2020); In re Highland Capital Mgmt., L.P., Case No. 19-
      12239 (CSS) (Bankr. D. Del. Dec. 4, 2019).

   7. “Highland Party” means Highland Capital Management, L.P., any of its partners, general
      partners, subsidiaries, affiliates, managed or advised funds or accounts, employees, or
      professionals, including, but not limited to, Pachulski Stang Ziehl & Jones LLP,
      Development Specialists Inc., James Seery, Russell Nelms, and John Dubel.




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                     PROPOSED PRODUCTION SPECIFICATIONS FOR
       ELECTRONICALLY STORED INFORMATION (“ESI”) AND HARD COPY
                             DOCUMENTS

DOCUMENT CATEGORIES


    1. Email, Attachments, and Other Electronic Messages


 Email and other electronic messages (e.g., instant messages (IMs)) should be produced as image
 files with related searchable text, metadata and bibliographic information. Depending on how
 the company's systems represent names in email messages or IMs, we may require a table of
 names or contact lists from custodians. Electronic messages include, but are not limited to,
 messages sent via (a) Android/Google Messages, Blackberry Messenger, Discord, Facebook
 Messager, GroupMe, iMessage, IMO, KIK, Samsung Messaging, Signal, Skype, Telegram
 Viber, WeChat, WhatsApp, and any other short messaging service (SMS) application, and (b)
 any business messaging platforms including Bloomberg IM, Chanty, Google Chat, MS Teams,
 Rocket, Slack, Yammer and any other comparable application.


 Email repositories, also known as email databases (e.g., Outlook .PST, Lotus .NSF), can contain
 a variety of items, including messages, calendars, contacts, tasks, etc. For purposes of
 production, responsive items should include the “Email” metadata/database fields outlined in
 the Metadata Table, including but not limited to all parent items (mail, calendar, contacts, tasks,
 notes, etc.) and child files (attachments of files to email or other items), with the parent/child
 relationship preserved. Similar items found and collected outside an email repository
 (e.g., .MSG, .EML, .HTM, .MHT) should be produced in the same manner.
    2. Electronic Documents

 Electronic documents include word-processing documents, spreadsheets, presentations, and all
 other electronic documents not specifically discussed elsewhere. Production of these items
 should include image files with related searchable text, metadata, and bibliographic
 information. All passwords and encryption must be removed from electronic documents prior
 to production. Please note the following:
            a. Presentations -- Presentations should be produced in full slide image format
                along with speaker notes (which should follow the full images of the slides)
                with related searchable text, metadata, and bibliographic information.
                Presentations should also be produced in native format (e.g.,
                as .PPT files). The linked native file name should match the
                BEGDOC#/DOCID with the appropriate file extension.




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          b. Spreadsheet Files -- Spreadsheets should be produced in native format
               (e.g., as .XLSX files), with searchable text for the entire document,
               metadata, and bibliographic information. Provide a single placeholder
               image. The placeholder image must contain at a minimum the
               BEGDOC#, FILENAME, and FILEPATH. The Bates range for a
               spreadsheet should be a single number (e.g., ABC00000001 –
               ABC00000001). The linked native file name should match the
               BEGDOC#/DOCID with the appropriate file extension.


          c. Hidden Files -- All hidden text (e.g., track changes, hidden columns, hidden
               slides, mark-ups, notes) shall be expanded and rendered in the extracted text
               file. For files that cannot be expanded linked native files shall be produced with
               the image files.

          d. Embedded Files -- All embedded objects (e.g., graphical files, Word
               documents, Excel spreadsheets, .wav files) that are found within a file shall be
               produced so as to maintain the integrity of the source document as a single
               document. For purposes of production the embedded files shall remain
               embedded as part of the original source document. Hyperlinked files must be
               produced as separate, attached documents. Any objects that cannot be rendered
               to images and extracted text (e.g., .wav, .avi files) must be produced as separate
               extracted files treated as attachments to the original file.
          e. Image-Only Files -- All image-only files (non-searchable .PDFs, multi-page
               TIFFs, Snipping Tool screenshots, etc., as well as all other images that
               contain text) shall be produced with associated OCR text, metadata, and
               bibliographic information.
          f.   Archive File Types -- Archive file types (e.g., .zip, .rar) must be uncompressed
               for processing. Each file contained within an archive file should be produced as
               a child to the parent archive file. If the archive file is itself an attachment, that
               parent/child relationship must also be preserved.
          g. Non-Standard Files -- Non-standard electronic files include, but are not limited
               to, system files, source code, transactional data, database files, audio and video
               files, and proprietary applications not publicly available. Database files should
               be produced both in native format, where possible, and also exported and
               produced in .xlsx format. Upon request and demonstration of need, productions
               of these types of files will be negotiated between the parties to determine a
               reasonable production format. Note that some non-standard files may be
               included in the production as part of a native container file, such as ZIP or MSG
               files.


    3. Hard-Copy (or Paper) Documents




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 Hard-copy documents are to be produced as black-and-white image files, except where noted
 below, with related searchable OCR text and bibliographic information. Special attention
 should be paid to ensure that hard-copy documents are produced as they are kept, reflecting
 attachment relationships between documents and information about the file folders within
 which each document is found. In addition, a multi-page document must be produced as a
 single document (i.e., properly unitized) and not multiple single-page documents. Where the
 original document is in color, that image should be produced in color. These color images are
 to be produced as .jpg format. Hard-copy photographs should be produced as color .jpg, if
 originally in color, or grayscale .tif files if originally in black-and-white.


    4. Parent-Child Relationships


 Ensure that the association of families (i.e., between emails and attachments are preserved.)
 Email attachments are consecutively produced with the parent email record.


PRODUCTION FORMAT


    5. Bates/Numbering Format


               files are named according to the Bates number of the TIFF image or native.
               consistent across the production;
               contains no special characters; and
               is numerically sequential within a given document.
               attachments to documents are assigned Bates numbers that directly follow the
                Bates numbers on the documents to which they were attached.


    6. Image/Native File Specifications


               Black-and-white Group IV Single-Page TIFFs (300 DPI). Color images
                should be provided in .JPG format for all native files containing color.
               Image file names should match the page identifier for that specific image
                and end with the .tif (or .jpg if needed) extension.
               File names cannot have embedded spaces, commas, underscores,
                ampersands, slashes, back slashes, hash marks, plus signs, percent signs,
                exclamation marks, any character used as a delimiter in the metadata load
                files, or any character not allowed in Windows file-naming convention. (,
                _ & \ / # + % ! : * ? “ < > | ~ @ ^)
               Images for a given document must reside together in the same folder.
               The maximum number of image and native files should be limited to 5,000 per
                folder.
               Native file names should match the BEGDOC#/DOCID entry for that


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              specific record and end with the appropriate file extension.
             Any encryption or password protection will be removed from all native format
              files produced.


    7. Searchable Text File Specifications


             Extracted text should be provided with all records, where available.
                   For hard copy documents, please provide OCR text.
                   For redacted documents, provide OCR text for the redacted version.
             There should be a single extracted/OCR text file per document, in ASCII Text
              format only.
             The name of the text file should be the same as the document's first
              page/Bates number, with a TXT extension: DOCID.TXT.
             There must be a carriage return and line feed (CRLF) no later than the 250th
              character of the first line of every text file.
             All soft and hard returns in the native electronic or image file should be
              replicated as a Carriage Return Line Feed (CRLF) in the text file (i.e. the lines
              of text in the file terminate with a CRLF in correlation with the appearance of
              the native electronic or rendered image file).
             Text files should include page breaks that correspond to the “pagination” of the
              image files.
             Place text files under a "FULLTEXT" folder and provide a Control List file
              for loading in the “LOADFILES” folder on the delivery media


    8. Metadata Load File Delimiters (.dat)


             Field Separator ¶ (ASCII 020)
             Text Qualifier þ (ASCII 254)
             Substitute Carriage Return or New Line in data ® (ASCII 174)
             Multi-value separator (Do Not Follow with Space) ; (ASCII 059)
             Date format MMDDYYY (date type fields only)
             Time format HH:MM:SS in 24-hour format (e.g., 04:32 pm formatted to
              16:32:00 – Do not include AM, PM, or Timezone indicators). All times
              should be normalized to the UTC time standard.
             There should be one line for every record in the load file. A carriage return and
              line feed (CRLF) must appear at the end of each record and only at the end of
              each record.
             The first row of each metadata load file should be a header row containing the
              field names. Field names must match Division Metadata Table field names.
             All requested fields should be present in the metadata load file whether data
              exists or not. Field order must remain consistent in subsequent productions.


    9. Opticon Image Load File (.opt)



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                 ImageFilePath – The path to the image from the root of the delivery media.
                 DocumentBreak – The letter “Y” denotes the first page of a document. If this
                  field is blank the page is not the first page of a document.
                 PageCount – Optional
                 Example - ABC00000001, ABC001,.\Images\001\ ABC00000001.tif,Y,,,


    10. Standard Field List



  FieldName                  Field Name Description
  BEGBATES                   Unique beginning document or production number
  ENDBATES                   Ending document or production number
  BEGATTACH                  Displays BEGBATES # of parent record.
  ENDATTACH                  ENDBATES # of last attached document in a family.
                             Stores BegBates # of parent record and EndDoc# of last
  ATTACHRANGE                attachment
                             Yes/No field; Identifies parent document (only need to
  Is Parent                  populate yes for parent documents)
                             The first document/bates number for each parent record;
  PARENT ID                  populated only for attachments
                             First document/bates number of each attachment,
  CHILD ID                   separated by semicolons.
                             Populates parent records with original filenames of all
  Attach                     attached records, separated by semi-colons
  NUMATTACH                  Total number of records attached to the document
  CUSTODIAN                  Source or Owner of Data
                             A list of all the owners of the documents (separated by
  ALL CUSTODIAN              semi-colons)
  EMAILTO                    Main recipient(s) of the email message
  EMAILFROM                  Author of email message
  EMAILCC          Recipient(s) of "Carbon copies" of the email message
  EMAILBCC         Recipient(s) of "Blind Carbon copies" of the email message
  EMAILSUBJECT     Subject of email message
                   Sent date and time of an email message using this format
  DATETIMESENT     DD/MM/YYYY HH:MM (using 24 hour clock)
                   Received date and time of an email message using this
  DATETIMERECEIVED format DD/MM/YYYY HH:MM (using 24 hour clock)
                   Creation date and time of the native file using this format
  DATETIMECREATED DD/MM/YYYY HH:MM (using 24 hour clock)
  DATECREATED      Creation date of the native file
  TIMECREATED                Creation time of the native file
                             Date and time of the native file was last modified using this
  DATETIMEMODIFIED           format DD/MM/YYYY HH:MM (using 24 hour clock)
  LASTAUTHOR                 Last author who modified the document



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                          Parent Date is populated for all family members (If e-mail
  DATESORT                "DATESENT," if loose "DATEMODIFIED"
                          Original filename of native file. Contains subject of email
  FILENAME                message for email records.
  DOCEXT                  File extension of native file.
  AUTHOR                  Author field value pulled from metadata of the native file
  FILERECORDTYPE          I.E. "e-jail" or "E-mail attachment" or "Loose File"
  File Size               size of the file (KB)
                          Loose Files: Subject field value extracted from metadata of
  DocumentSubject         native field.
  PGCOUNT                 Number of pages in a document (image records)
                          Comments field value pulled from the metadata of the
  Comments                native file
  EntryID                 Unique identifier of emails in mail stores
                          Description of native file types as listed in file type
  FileDescription         database
  MD5HASH                 MD5HASH
  TIME ZONE               Time zone processed (note all times should be normalized to
                          the UTC time standard)
  ORIGINAL FOLDER         Fully qualified original path to the source folder, files,
  PATH                    and/or mail stores
                          A list of all the native file paths to the document as
  ALLPATHS                it was kept in the ordinary course of business
                          (including documents removed through
                          deduplication). To the extent you are unable to
                          provide native file paths for deduplicated
                          documents, produce all versions of such document
                          with unique metadata, including native file path.
                          Title field value extracted from the metadata of the native
  TITLE                   file (includes document title and/or title of the file)
  Conversation            Normalized subject of e-mails
  Conversation Index      Email thread identification
  DateAppStart            Appointment start date for calendar items
  DateAppEnd              Appointment end date for calendar items
  DelivReceipt            Delivery receipt request notification
                          Yes/No field; Identifies if the document contains hidden
  HiddenText              content
                          Yes/No field for identifying family members which are
  ISEMBEDDED              embedded
  Importance              Importance field extracted from an email message
  ReadReceipt             Read receipt request notification for email message
  Revision                Revision number extracted from metadata of native file
  Sensitivity             Sensitivity field extracted from email messages
  SEARCH HITS             Multiple Choice filed, include all terms document hits
  OCR PATH                Links text files
  NATIVE PATH             Links native files


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                                 REQUESTED DOCUMENTS

   1. Documents sufficient to show the payment of any proceeds from the Cornerstone Sale to
      any Highland Party, including, but not limited to, the amount, date, and recipient of such
      proceeds.

   2. Documents sufficient to show the net sales price per share in the Cornerstone Sale.




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                                              Exhibit 1

       The name, address, email address, and telephone number of the attorneys representing the parties
who issue or request this subpoena are:




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                                     Okada Family Trust – Exempt Trust #2




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